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                                                                     9:16 am, 8/24/23

                                                               Margaret Botkins
                                                                Clerk of Court




                                                        23-CV-150-J
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